      Case 1:13-cv-02587-LTS-GWG Document 26 Filed 02/25/14 Page 1 of 11




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------- x

GERARD CORSINI,
                                                                            ANSWER ON BEHALF OF
                                                   Plaintiff,               DEFENDANTS THE CITY
                                                                            OF NEW YORK, MAYOR
                              -against-                                     MICHAEL R. BLOOMBERG,
                                                                            FIRST DEPUTY MAYOR
DANIEL BRODSKY, THOMAS BRODSKY, THE                                         PATRICIA E. HARRIS,
BRODSKY ORGANIZATION, LLC, 433 WEST                                         POLICE COMMISSIONER
ASSOCIATES, LLC, URBAN ASSOCIATES, LLC,                                     RAYMOND W. KELLY,
MARGARET BERGIN O’CONNOR, LOUIS ZADRIMA,                                    COMMISSIONER
JOSEPH PITRE, THE CITY OF NEW YORK, MAYOR                                   KATHERINE L. OLIVER,
MICHAEL R. BLOOMBERG, FIRST DEPUTY MAYOR                                    COMMISSIONER ROBERT
PATRICIA E. HARRIS, POLICE COMMISSIONER                                     LIMANDRI, DEPUTY
RAYMOND W. KELLY, COMMISSIONER                                              COMMISSIONER JOHN
KATHERINE L. OLIVER, COMMISSIONER ROBERT                                    BATTISTA, DEPUTY
LIMANDRI, DEPUTY COMMISSIONER JOHN                                          INSPECTOR ELISA A.
BATTISTA, DEPUTY INSPECTOR ELISA A.                                         COKKINOS, DETECTIVE
COKKINOS, LIEUTENANT HOULIHAN, DETECTIVE                                    ERIC PATINO, AND THE
ERIC PATINO, OFFICER RICHARD STELLMAN,                                      POLICE DEPARTMENT OF
DISTRICT ATTORNEY CYRUS R. VANCE, JR.,                                      THE CITY OF NEW YORK
ASSISTANT DISTRICT ATTORNEYS KAREN
FRIEDMAN-AGNIFILO, NITIN SAVUR, JOHN IRWIN,                                 13 CV 2587 (LTS) (MHD)
WILLIAM DARROW, LISA DELPIZZO, AND DANIEL
GARNAAS-HOLMES, THE POLICE DEPARTMENT
OF THE CITY OF NEW YORK, LIEUTENANT                                         JURY TRIAL DEMANDED
EDWARD LOSS OF THE NEW YORK CITY FIRE
DEPARTMENT, ELIZABETH MORGAN AKA
ELIZABETH MORGAN CARY, JONATHAN CARY,
DANIEL J. MCKAY, AARON SHMULEWITZ, BELKIN
BURDEN WENIG & GOLDMAN, LLP, AND JOHN
DOES 1-25 AND JANE DOES 1-25,

                                                Defendants.

----------------------------------------------------------------------- x


                 Defendants City of New York, Mayor Michael R. Bloomberg, First Deputy

Mayor Patricia E. Harris, Police Commissioner Raymond W. Kelly, Commissioner Katherine L.

Oliver, Commissioner Robert LImandri, Deputy Commissioner John Battista, Deputy Inspector

Elisa A. Cokkinos, Detective Eric Patino, and The Police Department of the City of New York,
     Case 1:13-cv-02587-LTS-GWG Document 26 Filed 02/25/14 Page 2 of 11




(“City Defendants”), by their attorney Zachary W. Carter, Corporation Counsel of the City of

New York, for their answer to the complaint, respectfully allege, upon information and belief, as

follows.

               1. Notwithstanding that paragraph “1” of the amended complaint brazenly fails

to comply with the pleading requirements of Fed. R. Civ. P. 8(d)(1)—which requires each

allegation to be simple, concise, and direct—in that it spans over fifteen pages and includes

multiple irrelevant statements that do not pertain to any legal claim and are, in fact, libelous,

deny each and every allegation set forth therein.

               2. Notwithstanding that paragraph “2” of the amended complaint brazenly fails

to comply with the pleading requirements of Fed. R. Civ. P. 8(d)(1)—which requires each

allegation to be simple, concise, and direct—in that it spans more than a page and includes

multiple irrelevant statements that do not pertain to any legal claim and are, in fact, libelous,

deny each and every allegation set forth therein.

               3. Notwithstanding that paragraph “3” of the amended complaint brazenly fails

to comply with the pleading requirements of Fed. R. Civ. P. 8(d)(1)—which requires each

allegation to be simple, concise, and direct—in that it spans more than a page and includes

multiple irrelevant statements that do not pertain to any legal claim and are, in fact, libelous,

deny each and every allegation set forth therein.

               4. Notwithstanding that paragraph “4” of the amended complaint brazenly fails

to comply with the pleading requirements of Fed. R. Civ. P. 8(d)(1)—which requires each

allegation to be simple, concise, and direct—in that it spans more than a page and includes

multiple irrelevant statements that do not pertain to any legal claim and are, in fact, libelous,




                                               -2-
      Case 1:13-cv-02587-LTS-GWG Document 26 Filed 02/25/14 Page 3 of 11




deny each and every allegation set forth therein, and further state that plaintiff was convicted

after trial.

               5. Notwithstanding that paragraph “3” of the amended complaint brazenly fails

to comply with the pleading requirements of Fed. R. Civ. P. 8(d)(1)—which requires each

allegation to be simple, concise, and direct—in that it spans more than a page and includes

multiple irrelevant statements that do not pertain to any legal claim and are, in fact, libelous,

deny each and every allegation set forth therein, and further state that plaintiff was convicted

after trial.

               6. Deny the allegations set forth in paragraph “6” of the amended complaint,

except deny information and belief as to the truth of the allegations regarding defendant

Morgan’s testimony, and respectfully refer to the Court to the record of plaintiff’s criminal trial

for an accurate recitation of the testimony therein.

               7. Deny the allegations set forth in paragraph “7” of the amended complaint,

except admit that plaintiff purports to bring this action and name the parties as stated therein.

               8.   Deny the allegations set forth in paragraph “8” of the amended complaint,

except admit that plaintiff purports to invoke the jurisdiction of the Court as stated therein.

               9. Deny the allegations set forth in paragraph “9” of the amended complaint,

except admit that plaintiff purports to base venue as stated therein.

               10. Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “10” of the amended complaint.

               11. Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “11” of the amended complaint.




                                                -3-
     Case 1:13-cv-02587-LTS-GWG Document 26 Filed 02/25/14 Page 4 of 11




               12. Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “12” of the amended complaint.

               13. Deny the allegations set forth in paragraph “13” of the amended complaint.

               14. Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “14” of the amended complaint.

               15. Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “15” of the amended complaint.

               16. Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “16” of the amended complaint, except deny that plaintiff

was ever falsely arrested or maliciously prosecuted.

               17. Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “17” of the amended complaint.

               18. Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “18” of the amended complaint.

               19. Deny knowledge or information sufficient to form a belief as to the truth of

the allegations regarding plaintiff’s thought process. Deny the remaining allegations set forth in

paragraph “19” of the amended complaint.

               20. Notwithstanding that paragraph “20” of the amended complaint fails to

comply with the pleading requirements of Fed. R. Civ. P. 8(d)(1)—which requires each

allegation to be simple, concise, and direct—deny the allegations set forth therein.

               21. Notwithstanding that paragraph “21” of the amended complaint fails to

comply with the pleading requirements of Fed. R. Civ. P. 8(d)(1)—which requires each

allegation to be simple, concise, and direct—deny the allegations set forth therein.



                                               -4-
      Case 1:13-cv-02587-LTS-GWG Document 26 Filed 02/25/14 Page 5 of 11




                22. Notwithstanding that paragraph “22” of the amended complaint fails to

comply with the pleading requirements of Fed. R. Civ. P. 8(d)(1)—which requires each

allegation to be simple, concise, and direct—deny the allegations set forth therein.

                23. Deny the allegations set forth in paragraph “23” of the amended complaint.

                24. Object to and deny the embedded assertion referencing “how and when the

policy came into existence,” and deny knowledge or information sufficient to form a belief as to

the truth of the remaining allegations set forth in paragraph “24” of the amended complaint.

                25. In response to the allegations set forth in paragraph “25” of the amended

complaint, City Defendants repeat and reallege the responses set forth in paragraphs “1” through

“24” inclusive of their answer as if fully set forth herein.

                26. Notwithstanding that paragraph “26” of the amended complaint fails to

comply with the pleading requirements of Fed. R. Civ. P. 8(d)(1)—which requires each

allegation to be simple, concise, and direct—deny the allegations set forth therein, and further

state that the allegations concerning “under color of state law” are legal conclusions, rather than

averments of fact, to which no response is required.

                27. In response to the allegations set forth in paragraph “27” of the complaint,

City Defendants repeat and reallege the responses set forth in paragraphs “1” through “26”

inclusive of their answer as if fully set forth herein.

                28. Notwithstanding that paragraph “28” of the amended complaint fails to

comply with the pleading requirements of Fed. R. Civ. P. 8(d)(1)—which requires each

allegation to be simple, concise, and direct—deny the allegations set forth therein.




                                                 -5-
      Case 1:13-cv-02587-LTS-GWG Document 26 Filed 02/25/14 Page 6 of 11




                29. In response to the allegations set forth in paragraph “29” of the amended

complaint, City Defendants repeat and reallege the responses set forth in paragraphs “1” through

“28” inclusive of their answer as if fully set forth herein.

                30. Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “30” of the amended complaint, except deny that plaintiff

was ever falsely arrested and deny that plaintiff was the victim of any “outrageous and illegal

conduct.”

                31. To the extent the allegations set forth in paragraph “31” of the amended

complaint apply to City Defendants, deny the allegations set forth therein. To the extent those

allegations apply to the other defendants in this litigation, deny knowledge or information

sufficient to form a belief as to the truth of the allegations set forth therein.

                       AS AND FOR A FIRST AFFIRMATIVE DEFENSE:

                32. The complaint fails to state a claim upon which relief can be granted.

                    AS AND FOR A SECOND AFFIRMATIVE DEFENSE:

                33. City Defendants have not violated any rights, privileges or immunities under

the Constitution or laws of the United States or the State of New York or any political

subdivision thereof.

                       AS AND FOR A THIRD AFFIRMATIVE DEFENSE:

                34. At all times relevant to the acts alleged in the complaint, the duties and

functions of the municipal defendant City’s officials entailed the reasonable exercise of proper

and lawful discretion. Therefore, defendant City has governmental immunity from liability.




                                                  -6-
     Case 1:13-cv-02587-LTS-GWG Document 26 Filed 02/25/14 Page 7 of 11




                   AS AND FOR A FOURTH AFFIRMATIVE DEFENSE:

               35. Any injury alleged to have been sustained resulted from plaintiff’s own

culpable or negligent conduct or the culpable or negligent conduct of others and was not the

proximate result of any act of defendant.

                   AS AND FOR A FIFTH AFFIRMATIVE DEFENSE:

               36. There was probable cause for plaintiff’s arrests, detentions, and prosecutions.

                   AS AND FOR A SIXTH AFFIRMATIVE DEFENSE:

               37. Plaintiff provoked any incident.

                  AS AND FOR A SEVENTH AFFIRMATIVE DEFENSE:

               38. Punitive damages cannot be awarded against the City of New York.

                  AS AND FOR AN EIGHTH AFFIRMATIVE DEFENSE:

               39. Plaintiff’s claim may be barred in whole or in part because plaintiff has failed

to comply with all conditions precedent to suit.

                    AS AND FOR A NINTH AFFIRMATIVE DEFENSE:

               40. Plaintiff may have failed to comply with New York General Municipal Law

§§ 50(e), 50(h), and/or 50(i).

                    AS AND FOR A TENTH AFFIRMATIVE DEFENSE:

               41. The individual City defendants have not violated any clearly established

constitutional or statutory rights of which a reasonable person should have known and are

therefore protected by qualified immunity.

                AS AND FOR AN ELEVENTH AFFIRMATIVE DEFENSE:

               42. Plaintiff has failed to mitigate his damages, if any.

                  AS AND FOR A TWELFTH AFFIRMATIVE DEFENSE:



                                               -7-
      Case 1:13-cv-02587-LTS-GWG Document 26 Filed 02/25/14 Page 8 of 11




                43. To the extent any force was used, such force was reasonable, necessary, and

justified.

                 AS AND FOR A THIRTEENTH AFFIRMATIVE DEFENSE:

                44. Plaintiff has not stated a viable claim under Monell v. Department of Social

Services, 436 U.S. 658 (1978).

                AS AND FOR A FOURTEENTH AFFIRMATIVE DEFENSE:

                45. To the extent plaintiff asserts state law claims against defendant City, such

claims are barred by the doctrine of immunity for judgmental errors in the exercise of

governmental functions.

                     AS AND FOR A FIFTEENTH AFFIRMATIVE DEFENSE:

                46. Plaintiff’s claims are barred, in whole or in part, by the applicable statute of

limitations.

                     AS AND FOR A SIXTEENTH AFFIRMATIVE DEFENSE:

                47. The New York City Police Department is a non-suable entity pursuant to

Section 396 of the New York City Charter.

                AS AND FOR A SEVENTEENTH AFFIRMATIVE DEFENSE:

               17.    Plaintiff’s claims are barred, in whole or in part, based on collateral estoppel

and/or res judicata.




                                                 -8-
     Case 1:13-cv-02587-LTS-GWG Document 26 Filed 02/25/14 Page 9 of 11




                WHEREFORE, City Defendants request judgment dismissing the complaint in

its entirety, together with the costs and disbursements of this action, and such other and further

relief as the Court may deem just and proper.

Dated:          New York, New York
                February 25, 2014



                                             ZACHARY W. CARTER
                                             Corporation Counsel of the
                                               City of New York
                                             Attorney for City Defendants
                                             100 Church Street
                                             New York, New York 10007
                                             (212) 356-2322

                                             By:                /s/
                                                      Daniel Passeser
                                                      Assistant Corporation Counsel
                                                      Special Federal Litigation Division



         BY MAIL & EMAIL
         Gerard Corsini
         433 W. 21st St.
         Apt. 9A
         New York, NY 10011
         gcorsini@gmail.com

         BY ECF
         Arthur Patrick Xanthos
         Gartner Bloom & Greiper, P.C.
         801 2nd Avenue, 15th Floor
         New York, NY 10017

         Christina Frances Ante
         New York County District Attorney's Office
         One Hogan Place
         New York, NY 10013
Case 1:13-cv-02587-LTS-GWG Document 26 Filed 02/25/14 Page 10 of 11




 Eric Michael Arnone
 Galluzzo & Johnson LLP
 48 Wall Street
 New York, NY 10463

 David Robert Brand
 Belkin Burden Wenig & Goldman, LLP
 270 Madison Avenue
 New York, NY 10016




                                 - 10 -
            Case 1:13-cv-02587-LTS-GWG Document 26 Filed 02/25/14 Page 11 of 11


Index No. 13 CV 2587 (LTS) (MHD)

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
GERARD CORSINI,

                                                                                                Plaintiff,

                                                   -against-

DANIEL BRODSKY, THOMAS BRODSKY, THE BRODSKY ORGANIZATION, LLC, 433 WEST
ASSOCIATES, LLC, URBAN ASSOCIATES, LLC, MARGARET BERGIN O’CONNOR, LOUIS
ZADRIMA, JOSEPH PITRE, THE CITY OF NEW YORK, MAYOR MICHAEL R. BLOOMBERG,
FIRST DEPUTY MAYOR PATRICIA E. HARRIS, POLICE COMMISSIONER RAYMOND W. KELLY,
COMMISSIONER KATHERINE L. OLIVER, COMMISSIONER ROBERT LIMANDRI, DEPUTY
COMMISSIONER JOHN BATTISTA, DEPUTY INSPECTOR ELISA A. COKKINOS, LIEUTENANT
HOULIHAN, DETECTIVE ERIC PATINO, OFFICER RICHARD STELLMAN, DISTRICT ATTORNEY
CYRUS R. VANCE, JR., ASSISTANT DISTRICT ATTORNEYS KAREN FRIEDMAN-AGNIFILO,
NITIN SAVUR, JOHN IRWIN, WILLIAM DARROW, LISA DELPIZZO, AND DANIEL GARNAAS-
HOLMES, THE POLICE DEPARTMENT OF THE CITY OF NEW YORK, LIEUTENANT EDWARD
LOSS OF THE NEW YORK CITY FIRE DEPARTMENT, ELIZABETH MORGAN AKA ELIZABETH
MORGAN CARY, JONATHAN CARY, DANIEL J. MCKAY, AARON SHMULEWITZ, BELKIN
BURDEN WENIG & GOLDMAN, LLP, AND JOHN DOES 1-25 AND JANE DOES 1-25,

                                                                                              Defendants.


                      ANSWER ON BEHALF OF CITY DEFENDANTS

                                    ZACHARY W. CARTER
                           Corporation Counsel of the City of New York
                                  Attorney for City Defendants
                                       100 Church Street
                                  New York, New York 10007

                                      Of Counsel: Daniel Passeser
                                          Tel: (212) 356-2322

                             Due and timely service is hereby admitted.

                        New York, N.Y............................................... , 2014

                                                      Esq.

                                                 Attorney for
